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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 UNITED STATES OF AMERICA                            §
                                                     §   CASE NO. 4:23-cr-218
 vs.                                                 §
                                                     §
 (1) HARDIK JAYANTILAL PATEL,
                                                     §
     aka Erik aka Mitesh aka Nick aka Dev, and
                                                     §
 (2) DHIRENKUMAR VISHNUBHAI PATEL,                   §
                                                     §
                Defendants.                          §

                                    PROTECTIVE ORDER

        The Court grants the Government’s Motion to Disclose Discoverable Material Pursuant to
Protective Order and ORDERS:

1.      As used in this order, and unless otherwise specified, “Defendants” include attorneys for
        the defendant, persons employed to assist in the defense, or others as to whom the Court
        authorizes disclosures.

2.      All discoverable information provided by the United States to Defendants Hardik
        Jayantilal Patel and Dhirenkumar Vishnubhai Patel will be made pursuant to this order.

3.      Defendants will protect discovery materials and all copies from unnecessary
        dissemination.

4.      Defendants will use discovery materials provided by the United States solely in connection
        with the defense of this case and for no other purpose and in connection with no other
        proceeding.

5.      Defendants will not disclose discovery materials and their contents, and any notes or other
        record of discovery materials or their contents, to any person or entity.

6.      Defendants will not copy discovery materials except as necessary to provide copies for use
        by an authorized person described above to prepare or assist in the defense, and all copies
        will be treated in the same manner as the original.

7.      Defendants’ attorneys will not provide to Defendants copies of documents containing
        identifying information of any victim or witness except where found by the Court to be
        necessary to prepare or assist in the defense. Under no circumstances shall copies of
        documents containing identifying information of any victim or witness be left at any
        detention facility for any Defendant to review.
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8.      Defendants’ attorneys will inform Defendants of the terms of this order and direct
        Defendants not to disclose or use any information contained in the Government’s discovery
        in violation of the Protective Order.

9.      Any papers to be served upon the Court by either party that include identifying information
        of any victim or witness shall be filed under seal. Any papers to be served upon the Court
        in response to papers served in conformity with the preceding paragraph shall also be filed
        under seal.

10.     Defendants will return all discovery containing identifying information of any victim or
        witness and copies to the United States Attorney’s Office (USAO) or certify their
        destruction to the United States following disposition of the case, except where an appeal
        is anticipated. Any archieved, electronic copy of discovery retained by an attorney for
        Defendant Hardik Jayantilal Patel or Dhirenkumar Vishnubhai Patel as a result of
        automatic electronic back-ups of discovery review tools is not a violation of this order.

11.     Should any Defendant change his attorney at any time before discovery containing
        identifying information of any victim or witness and copies have been returned to the
        USAO, that Defendant’s counsel will not provide the discovery to any subsequent counsel
        unless subsequent counsel for Defendant has agreed to, or has been ordered by the Court,
        to be bound by this Protective Order. If subsequent counsel’s consent to this Order cannot
        be obtained, defendant’s counsel shall return discovery containing identifying information
        of any victim or witness and all copies to the USAO immediately.

12.     This protective order applies to all discovery that has already been provided to Defendants,
        as well as future discoverable material provided to Defendants, except for the Defendants’
        own statements.

13.     Nothing in this order prevents either party from applying to the Court for modification or
        further relief.

14.     Any person found violating any portion of this Protective Order may be subject to the full
        contempt powers of the Court.

        IT IS SO ORDERED.

        Signed in Houston, Texas, on _____________________________, 2023.




                                              _______________________
                                              Hon. Charles R. Eskridge III
                                              United States District Judge
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